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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                      §
                                             §           Case No. 22-31641-mvl7
 GOODMAN NETWORKS, INC.,                     §
                                             §           Involuntary Chapter 7
             Debtor.                         §

                         ORDER GRANTING MOTION TO DISMISS

         Came on for consideration the Motion filed by Goodman Networks Inc d/b/a Goodman

Solutions ("Goodman"), the alleged debtor in the above-captioned involuntary bankruptcy

proceeding seeking an order from this Court dismissing the involuntary petition filed by petitioning

creditors, JLP Credit Opportunity IDF Series Interests of the SALI Multi-Series Fund, L.P., JLP

Institutional Credit Master Fund LP, and Alimco Re Ltd. (collectively, the "Petitioners"). The

Court, having considered the Motion, is of the opinion that the Motion, should be granted.

         It is, therefore, ORDERED that the involuntary petition filed by Petitioners on September

6, 2022 is dismissed.



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         Dated: September 30, 2022

                                 ### END OF ORDER ###




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AGREED AND STIPULATED TO:


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